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                                           UNITED STATES BANKRUPTCY COURT
                                                   FOR THE DISTRICT OF MARYLAND
                                                            BALTIMORE DIVISION


    In Re. CC 1400 ALICEANNA STREET LLC,                                §                   Case No. 25-12153
                                                                        §
                                                                        §
                          Debtor(s)                                     §
                                                                                                Jointly Administered

    Monthly Operating Report                                                                                                  Chapter 11

    Reporting Period Ended: 04/30/2025                                                        Petition Date: 03/13/2025

    Months Pending: 2                                                                         Industry Classification:    5   3   1   1

    Reporting Method:                              Accrual Basis                         Cash Basis

    Debtor's Full-Time Employees (current):                                          0

    Debtor's Full-Time Employees (as of date of order for relief):                   0



    Supporting Documentation (check all that are attached):
    (For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

            Statement of cash receipts and disbursements
            Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
            Statement of operations (profit or loss statement)
            Accounts receivable aging
            Postpetition liabilities aging
            Statement of capital assets
            Schedule of payments to professionals
            Schedule of payments to insiders
            All bank statements and bank reconciliations for the reporting period
            Description of the assets sold or transferred and the terms of the sale or transfer




    Brandon M. Chasen, Sr.                                                       Brandon M. Chasen, Sr.
    Signature of Responsible Party                                               Printed Name of Responsible Party
    05/20/2025
                                                                                 12 W. Montgomery Street
    Date
                                                                                 Baltimore, MD 21230
                                                                                 Address



    STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
    § 1320.4(a)(2) applies.

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    Part 1: Cash Receipts and Disbursements                                              Current Month           Cumulative

    a.   Cash balance beginning of month                                                                 $215
    b.   Total receipts (net of transfers between accounts)                                                $0                     $0
    c.   Total disbursements (net of transfers between accounts)                                           $0                     $0
    d.   Cash balance end of month (a+b-c)                                                               $215
    e.   Disbursements made by third party for the benefit of the estate                            $41,223                   $41,223
    f.   Total disbursements for quarterly fee calculation (c+e)                                    $41,223                   $41,223
    Part 2: Asset and Liability Status                                                   Current Month
    (Not generally applicable to Individual Debtors. See Instructions.)
    a. Accounts receivable (total net of allowance)                                                        $0
    b.   Accounts receivable over 90 days outstanding (net of allowance)                                   $0
    c.   Inventory       ( Book        Market      Other      (attach explanation))             $40,500,000
    d    Total current assets                                                                   $40,500,215
    e.   Total assets                                                                           $40,500,215
    f.   Postpetition payables (excluding taxes)                                                           $0
    g.   Postpetition payables past due (excluding taxes)                                                  $0
    h.   Postpetition taxes payable                                                                        $0
    i.   Postpetition taxes past due                                                                       $0
    j.   Total postpetition debt (f+h)                                                                     $0
    k.   Prepetition secured debt                                                               $36,614,992
    l.   Prepetition priority debt                                                                         $0
    m. Prepetition unsecured debt                                                                          $0
    n.   Total liabilities (debt) (j+k+l+m)                                                     $36,614,992
    o.   Ending equity/net worth (e-n)                                                           $3,885,223

    Part 3: Assets Sold or Transferred                                                   Current Month          Cumulative


    a.   Total cash sales price for assets sold/transferred outside the ordinary
         course of business                                                                                $0                     $0
    b.   Total payments to third parties incident to assets being sold/transferred
         outside the ordinary course of business                                                           $0                     $0
    c.   Net cash proceeds from assets sold/transferred outside the ordinary
         course of business (a-b)                                                                          $0                     $0

    Part 4: Income Statement (Statement of Operations)                                  Current Month           Cumulative
    (Not generally applicable to Individual Debtors. See Instructions.)
    a. Gross income/sales (net of returns and allowances)                                                  $0
    b.   Cost of goods sold (inclusive of depreciation, if applicable)                                     $0
    c.   Gross profit (a-b)                                                                                $0
    d.   Selling expenses                                                                                  $0
    e.   General and administrative expenses                                                               $0
    f.   Other expenses                                                                                    $0
    g.   Depreciation and/or amortization (not included in 4b)                                             $0
    h.   Interest                                                                                          $0
    i.   Taxes (local, state, and federal)                                                                 $0
    j.   Reorganization items                                                                              $0
    k.   Profit (loss)                                                                                     $0                     $0


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    Part 5: Professional Fees and Expenses

                                                                                       Approved       Approved       Paid Current       Paid
                                                                                     Current Month   Cumulative         Month         Cumulative
    a.      Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
            Itemized Breakdown by Firm
                     Firm Name                         Role
            i        Whiteford, Taylor & Preston L. Lead Counsel                                $0            $0                $0             $0
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                                                                                      Approved       Approved       Paid Current       Paid
                                                                                    Current Month   Cumulative         Month         Cumulative
     b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

            Itemized Breakdown by Firm
                     Firm Name                        Role
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     c.       All professional fees and expenses (debtor & committees)                 $0             $0               $0               $0




    Part 6: Postpetition Taxes                                                              Current Month             Cumulative

    a.    Postpetition income taxes accrued (local, state, and federal)                                     $0                          $0
    b.    Postpetition income taxes paid (local, state, and federal)                                        $0                          $0
    c.    Postpetition employer payroll taxes accrued                                                       $0                          $0
    d.    Postpetition employer payroll taxes paid                                                          $0                          $0
    e.    Postpetition property taxes paid                                                                  $0                          $0
    f.    Postpetition other taxes accrued (local, state, and federal)                                      $0                          $0
    g.    Postpetition other taxes paid (local, state, and federal)                                         $0                          $0

    Part 7: Questionnaire - During this reporting period:

    a.    Were any payments made on prepetition debt? (if yes, see Instructions)      Yes        No
    b.    Were any payments made outside the ordinary course of business              Yes        No
          without court approval? (if yes, see Instructions)
    c.    Were any payments made to or on behalf of insiders?                         Yes        No
    d.    Are you current on postpetition tax return filings?                         Yes        No
    e.    Are you current on postpetition estimated tax payments?                     Yes        No
    f.    Were all trust fund taxes remitted on a current basis?                      Yes        No
    g.    Was there any postpetition borrowing, other than trade credit?              Yes        No
          (if yes, see Instructions)
    h.    Were all payments made to or on behalf of professionals approved by         Yes        No    N/A
          the court?
    i.    Do you have:            Worker's compensation insurance?                    Yes        No
                                      If yes, are your premiums current?              Yes        No    N/A       (if no, see Instructions)
                                  Casualty/property insurance?                        Yes        No
                                      If yes, are your premiums current?              Yes        No    N/A       (if no, see Instructions)
                                  General liability insurance?                        Yes        No
                                      If yes, are your premiums current?              Yes        No    N/A       (if no, see Instructions)
    j.    Has a plan of reorganization been filed with the court?                     Yes        No
    k.    Has a disclosure statement been filed with the court?                       Yes        No
    l.    Are you current with quarterly U.S. Trustee fees as                         Yes        No
          set forth under 28 U.S.C. § 1930?




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     Part 8: Individual Chapter 11 Debtors (Only)

    a.       Gross income (receipts) from salary and wages                                                                $0
    b.       Gross income (receipts) from self-employment                                                                 $0
    c.       Gross income from all other sources                                                                          $0
    d.       Total income in the reporting period (a+b+c)                                                                 $0
    e.       Payroll deductions                                                                                           $0
    f.       Self-employment related expenses                                                                             $0
    g.       Living expenses                                                                                              $0
    h.       All other expenses                                                                                           $0
    i.       Total expenses in the reporting period (e+f+g+h)                                                             $0
    j.       Difference between total income and total expenses (d-i)                                                     $0
    k.       List the total amount of all postpetition debts that are past due                                            $0
    l. Are you required to pay any Domestic Support Obligations as defined by 11              Yes       No
       U.S.C § 101(14A)?
    m. If yes, have you made all Domestic Support Obligation payments?                        Yes       No        N/A

                                                          Privacy Act Statement
     28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
     §§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
     U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
     through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
     being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
     is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
     law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
     made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
     Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
     Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
     www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
     conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


     I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
     documentation are true and correct and that I have been authorized to sign this report on behalf of the
     estate.



     /s/ Brandon M. Chasen, Sr.                                                       Brandon M. Chasen, Sr.
     Signature of Responsible Party                                                   Printed Name of Responsible Party

     Managing Member                                                                  05/20/2025
     Title                                                                            Date




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                                                                Bankruptcy1to50




                                                               Bankruptcy51to100




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                                     STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

                                        FOR APRIL 2025 MONTHLY OPERATING REPORT



            The insurance premiums advanced by Harbor Management Group LLC:

            4/15/2025 $39,049.88

            4/17/2025 $ 2,172.89

            TOTAL:         $41,222.77




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